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                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                               JACKSONVILLE DIVISION

UNITED STATES OF AMERICA,


vs.                                                         CASE NO. 3:94-cr-10(S1)-J-21

KENNETH GLOVER,

____________________________________/

                                              ORDER

        Before the Court is the Defendant’s Response to United States Opposition to Petitioner’s Motion

Pursuant to Rule 12(b)(2) F.R. Cr. P. (Dkt. 733). Apparently, the Defendant is filing a Response to this

Court’s Order of June 28, 2005 (Dkt. 730). Such a response is improper and should be stricken.

Accordingly, the so-called response (Dkt. 733) is hereby stricken.

        DONE AND ORDERED in Chambers at Jacksonville, Florida this __13th__ day of September,

2005.




Copies to:     Counsel of Record
               Defendant
